DEAN K. DUNSMORE
DEPARTMENT OF JUSTICE
Environment & Natural Resources Division
801 B Street, Suite 504
Anchorage, Alaska 99501-3657
Telephone:(907)271-5452
Facsimile:(907)271-5827
Email: dean.dunsmore@usdoj.gov
Attorney for Federal Defendants


                      UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ALASKA

LINCOLN PERATROVICH, et al.,       )
                                   )
          Plaintiffs,              ) No. 3:92-cv-0734-HRH
                                   )
                     v.            )
                                   )
UNITED STATES OF AMERICA,          ) DECLARATION OF
FEDERAL SUBSISTENCE BOARD, et al., ) GEORGE BISSET
                                   )
          Defendants.              )


      Pursuant to 28 U.S.C, 1746, George Bisset declares and

states:

1.    I am a Land Surveyor for the USDA Forest Service, Tongass

      National Forest, in Petersburg, Alaska. I have held this

      position since approximately 2005. I have worked for the

      Forest Service in Alaska for approximately 28 years, in

      both full-time and seasonal positions. I am licensed as a

      surveyor by the State of Alaska.
Pe:catrovich v. US
No. 3:92-ov-0734-HRH
Declaration of George Bisset         1




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 1 of 8Exhibit 2
                                                                          Page 1 of 8
2.   An attorney in our General Counsel's office sent me a

     document entitled, "ATTACHMENT A; TERRITORIAL WATERS WHERE

     APPLICANTS WILL HAVEST HERRING ROE ON KELP." That document

     purportedly contains descriptions of the historical

     boundaries of the Kuiu, Skakan, and Taanta Kwaans. I was

      asked to create a map delineating the boundaries of the

      Kwaans, and to explain any flaws in the descriptions, as

     well as to explain any assumptions I had to make in order

      to create a map. The map I created is attached to this

      declaration.

3.    To create the map of the Kwaan Boundaries, I used data from

      the USDA Forest Service, Tongass National Forest GIS

      database. I utilized a layer titled "Coast," which

      represents the shoreline of southeast Alaska, and is

      referenced to the North American Datum of 1983, (NAD 83),

      Zone 1, Alaska State Plane meters. I imported this data

      into Autodesk Map in order to plot the various Calls in the

      boundary descriptions, particularly the call for North

      Latitude 56°34'00", as it pertains to the shores of Earanof

      and Kuiu Islands.

4.    I understood that the Kuiu Kwaan is not part of this case,

      but it was necessary to plot the Kuiu Kwaan as well, since
Peratrovich v. US
No. 3:92-cv-0734-HRH
Declaration of George Bisset         2




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 2 of 8Exhibit 2
                                                                          Page 2 of 8
      that Kwaan shares boundaries with the Shakan Kwaan and the

      Taanta Kwaan. I do not feel the boundary description for

      the Taanta Kwaan is specific enough to be able to map

      fully.

5.    The boundary descriptions contain several flaws that made

      it difficult to create a map:

      a.    Kuiu Kwaan:

                  The'reference to a North Latitude of 56°34'00"
                  does not specify what datum is referred to, NAD 27
                  or NAD 83.

           ii.    There is reference to the eastern shore of Kuiu
                  Island. However, it does not specify whether that
                  means at mean high water, mean low water or some
                  other stage of tide.

           iii. The description uses the word "mile." It does not
                specify whether the intent is to use nautical or
                statute miles.

            iv. There are numerous calls for establishing a
                halfway point between two islands. However, it is
                not explained upon what basis one would choose
                points along the shoreline to use to determine the
                halfway mark.

               v. The Barrier Islands are a group of islands. It
                  does not specify whether the description refers to
                  the center of the group or the most westerly point
                  of the group.



Peratrovich v. US
No. 3:92-cv-0734-HRB
Declaration of. George Bisset        3




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 3 of 8Exhibit 2
                                                                          Page 3 of 8
             vi. "Southern end of Warren Island" is a very broad
                 description. It does not specify whether this
                 means the most southerly point or the middle of
                 the southern shoreline.

           vii. Hazy Islands are a group of islands. It does not
                specify whether the intent is to use the
                geographical center of the group.

           viii. There is a reference to Timber Islands. There is
                                         .




                 no Timber Island, but there is a Timbered Island,
                 southwest of Hecata Island.

             ix. It is unclear whether the western boundary
                 terminates at a point halfway between Hazy Islands
                 and Cape Ommany or whether it continues to the
                 continental shelf.

               x. On page A-3 there appears to be a typographical
                   error 54° instead of 56°.

      b.      Shakan Kwaan:

                    There are numerous calls for establishing a
                    halfway point between two islands. However, it
                    is unknown upon what basis one would choose which
                    points along the shoreline to use to determine
                    the halfway mark.

              ii.   It is unclear whether the midway point between
                    Aneskett Point of Kosciusko Island is based upon
                    the use of perpendicular lines to the Prince of
                    Wales Island shoreline.

            iii.    It does not specify how to determine what is
                    "equidistant between Kosciusko and Prince of
                    Wales Islands" in terms of what shoreline

Peratrovich v. US
No. 3:92-cv-0734-HRH
Declaration of George Bisset         4




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 4 of 8Exhibit 2
                                                                          Page 4 of 8
                   features to use and not use. The channel is not
                   a straight line.

            iv.     The criteria to "equally divide Sea Otter Sound"
                  . are not known.

            v.     The description says: "Proceeds in a westerly
                   direction equally dividing Iphigenia Bay." The
                   criteria to determine how to do this are not
                   known.

           vi.     It is unclear whether the western boundary of the
                   Shakan Kwaan is intended to be a common boundary
                   with the Kuiu Kwaan.

           vii.    The description says: "Thence proceeds in a
                   northerly direction between Point Barrie and
                   Sumner Islands." This does not return to the
                   starting point of the northern boundary.

      c.    Taanta Kwaan:

            i.      It is unclear whether the northeastern and
                    eastern Taanta Kwaan boundaries are common with
                    the Kuiu or Shakan Kwaan boundaries.

            ii.     It is unclear which river systems are referred to
                    in the eastern boundary legal description.

           iii. It is unclear where the beginning point of the
                southern boundary is on the Skeena River.

            iv.    For the western boundary, it is unclear where the
                   point west of the point of beginning is located.

            v. The Taanta Kwaan boundary descriptions are pure
                bounds and cannot be placed on a map without more
                 information. A bounds description is one written
                 and then interpreted as if a person were standing
                 in the center of the parcel of land and then is
Peratrovich v. US
No. 3:92-cv-0'734-HRH
Declaration of George Bisset         5




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 5 of 8Exhibit 2
                                                                          Page 5 of 8
                         looking outward to the boundaries of the parcel
                         that is being described. In a bounds
                         description, the calls for the adjoiners become
                         the monuments, and many times do not have a
                         direction of travel, a bearing, or even a
                         distance.

6.     In order to create the map entitled "Exhibit A Boundaries of

       the Kwwan Clans," I made several assumptions:

           a.      I used the Tongass National Forest GIS data in NAD 83
                   to place the North Latitude 56°34'00" on the shoreline
                   of Baranof and Kuiu Islands.

          b.       I assumed the word "shore" was intended to refer to
                   the mean high waterline.

           c,      I assumed nautical miles were to be used instead of
                   statute miles.

           d.      I assumed halfway points between islands are based
                   upon points along the shoreline closest to each other.

           e.      The call for the Barrier Islands is not specific, so I
                   was unsure if it meant the geographical center, or the
                   most western point of land in the group of islands. I
                   used the most western point of land in determining the
                   halfway point between the Barrier Islands and Point
                   Amelius.

                   The call for the southern end of Warren Island is not
                   very specific. I used the most southerly point of land
                   to determine the halfway point between Helm Point and
                   the southern end of Warren Island.

           g.      "A point halfway between Hazy Islands and Timber
                   Island" is not very specific. The Hazy Islands are a
                   group, and I used the geographical center. I could not
                   locate "Timber" Island, but did locate "Timbered
                   Island." I assumed the intent was to use Timbered

     Peratrovich v. US
     No. 3:92-cv-0734-HRH
     Declaration of George Bisset            6




                Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 6 of 8Exhibit 2
                                                                                   Page 6 of 8
             Island and the geographical center of the Hazy Islands
             to position a halfway point on the map.

      h.     To determine the center of El Capitan Passage, I
             assumed that where possible, perpendicular lines would
             be drawn from prominent features along one shoreline
             to the other shoreline.

      i.     I used the halfway point between Helm Point and the
             southern end of Warren Island to divide Iphigenia Bay.

      j•     I assumed the Kuiu and Shakan Kwaan boundaries were
             common. There is only one place in the boundary
             description that states any of these boundaries are
             common to one another.

   Pursuant to 28 U.S.C. §1746, I declare under penalty of

perjury that the foregoing is true and correct to the best of my

knowledge.

   Executed this            day of April, 2010.




                                   GEOEGP4-SSET




Peratrovich v. US
Na, 3:92-ov-034-HRH
Declaration of. George Bisset




       Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 7 of 8Exhibit 2
                                                                          Page 7 of 8
                                                                      Ord Pocket




                                                                                      Kuiu Kwaan




                                                                                                                             st9rtino


                                                                                                                                        Z.7



                                                                                                                 Boulder P


                                                                                                                                                        Prince of Wales Is.




                                                                                                                                        Kosciusko Is.




                                                                                                                                                                              Prince of




             NVIU KIVAPH BOUNDARY

             SW.N 1.111N BOUNDARY             .         -




                                        0   3000 5000   0000 meters




         Exhibit "A"                                                                               EFL:VZ.Z.r"
   Boundaries of the Kwaan
            Clans

PREPPREO FOR'
       Office dd. Gene.
         Counsel
      P O. Box ,Ifalt          Pape 1 0£1
   Juneau...00,1BH
DRAWN BV:
    Geo, Bisset AK RLS 1 Be,




                                                                                   Case 3:92-cv-00734-HRH Document 261-3 Filed 04/30/10 Page 8 of 8                                       Exhibit 2
                                                                                                                                                                                          Page 8 of 8
